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 1
                                   UNITED STATES DISTRICT COURT
 2

 3                              NORTHERN DISTRICT OF CALIFORNIA

 4                                       SAN FRANCISCO DIVISION
 5

 6   IN RE GOOGLE PLAY STORE                                 Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 7
     THIS DOCUMENT RELATES TO:
 8                                                           [PROPOSED] SCHEDULING ORDER
     Epic Games Inc. v. Google LLC et al., Case
 9   No. 3:20-cv-05671-JD
                                                             Judge: Hon. James Donato
10   In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD
11
     In re Google Play Developer Antitrust
12   Litigation, Case No. 3:20-cv-05792-JD
13   State of Utah et al. v. Google LLC et al., Case
     No. 3:21-cv-05227-JD
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                                        [PROPOSED] SCHEDULING ORDER
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
       Case 3:20-cv-05671-JD Document 206-1 Filed 01/14/22 Page 2 of 3




 1                  After considering the parties’ Joint Statement re: Case Schedule and Trial

 2 Structure, MDL Dkt. No. ____, the Court sets the following case management deadlines pursuant

 3 to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-10. This order applies to all actions

 4 that are a part of this multi-district litigation case, and supersedes all scheduling orders previously

 5 issued in any member case.

 6
                 ACTIVITY                                                    DATE
 7
                 Status Conferences
 8               Joint status conference                                     March 17, 2022, at 11
                                                                             a.m. (by remote access)
 9
                 Joint status conference                                     June 16, 2022, at 11
10                                                                           a.m. (by remote access)
11               Fact Discovery Cut-off                                      April 18, 2022
12               Class Certification
13               Plaintiffs’ Class Certification Motion                      March 3, 2022
14               Plaintiffs’ Class Certification expert report               March 3, 2022
15               Google’s Class Certification Opposition                     April 5, 2022

16               Google’s Class Certification Expert Report                  April 5, 2022

17               Google’s Daubert Motion(s) re Class                         April 5, 2022
                 Certification Report
18
                 Plaintiffs’ Class Certification Reply and                   April 29, 2022
19               Daubert Motion

20               Plaintiffs’ Class Certification Reply Expert                April 29, 2022
                 Report
21
                 Plaintiffs’ Opposition to Daubert Motion                    April 29, 2022
22               Google’s Daubert Reply                                      May 6, 2022
23               Google’s Motion re any Class Certification                  May 6, 2022
                 Reply Expert Report
24
                 Plaintiffs' Response to Google’s Motion re                  May 13, 2022
25               Reply Expert Report
26               Concurrent Expert Proceeding Joint                          May 13, 2022
                 Submission
27
                 Concurrent Expert Proceedings/Daubert                       May 19, 2022
28               Hearing
                                         [PROPOSED] SCHEDULING ORDER
             Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
     Case 3:20-cv-05671-JD Document 206-1 Filed 01/14/22 Page 3 of 3




 1            Class Certification Hearing                                 May 26, 2022
 2            Merits Experts
 3            Plaintiffs' Merits Expert Reports                           May 27, 2022
 4            Google’s Merits Expert Reports                              July 1, 2022
 5            Plaintiffs’ Merits Replies                                  July 29, 2022
 6            Expert Discovery Cut-Off                                    August 19, 2022
 7            Dispositive/Daubert Motions
 8            Dispositive/Daubert Motions                                 August 26, 2022

 9            Dispositive/Daubert Motion Responses                        September 23, 2022

10            Dispositive/Daubert Motion Replies                          October 14, 2022

11            Concurrent Expert Proceeding Joint Statement                October 21, 2022

12            Concurrent Expert Proceeding/Daubert                        November 4, 2022
              Hearing
13            Dispositive Motion Hearing                                  November 17, 2022
14            Trial
15            Serve (but not file) Motions in Limine                      November 23, 2022
16            Serve (but not file) opposition to Motions in               December 12, 2022
              Limine
17
              Pretrial Filings Due Date                                   December 16, 2022
18
              Pre-Trial Conference                                        January 19, 2023
19
              Trial Date                                                  January 30, 2023
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21               IT IS SO ORDERED.
22

23 DATED: ______________________                                       BY THE COURT:
24

25                                                                     ______________________________
26                                                                     HONORABLE JAMES DONATO
27                                                                     United States District Judge
28
                                      [PROPOSED] SCHEDULING ORDER
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
